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FILED - KZ
aeons) 1:23-cv-1232 November 27, 2023 10:44 AM
Paul L. Maloney U.S. DISTRICT COURT
MOTION UNDER 28 U.S.C. § 2255TC U.S. District Judge ‘CT! WESTERN DISTRICT OF, MICHIGAN
PERSO ma_ Scanned by ith \\ Vn

United States District Court District WEstean) Disetl GE MECHTGN

Name (under which you were convicted): Docket or Case No.:

Gates TrEVoN MitGursté Vi1G-CR- 0015 +
Place of Confinement: E56 P

Prisoner No.: 2726\2 -nH4o

Movant (include name under which convicted)

UNITED STATES OF AMERICA

| GATES “IREVGN MApGurst

MOTION

- (a) Name and location of court that entered the judgment of conviction you are challenging: LAS Drsteicl

Couey, io} Fepe@aL Dida. Wia West MictreaAn Ave
KALAMAz¢0 Mz. 4Qoo4

(b) Criminal docket or case number: |: \4 -C &- Q0\5 4

2. (a) Date of the judgment of conviction: lo-30-2. 020

(b) Date of sentencing: lo-A0-2020

3. Identify all counts and crimes for which you were convicted and sentenced in this case:
Count 1 Disc $46, oH (AVG), ¢ 0B) OCA) CUT)
Counk 4 \bis.c AZ (c)C1) CA CE)

4.

Length of sentence for each count or crime for which you were convicted in this case: \2o MoNtro Eom
Count “1 2V, $46, a4 CAN (4), bo Monts Foon Count 74

if; 924 (ce) (Caer)

5. (a) What was your plea?

Not guilty we

Guilty o
Nolo contendere (no contest) ©

(b) If you entered a guilty plea to one count or charge, and a not guilty plea to another count or charge, give details:

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If you went to trial, what kind of trial did you have? (Check one)
(a) Jury G

(b) Judge only G

Did you testify at the trial? Yes O No %

Did you appeal from the judgment of conviction? Yes Noo

If you did appeal, answer the following:

(a) Date you filed: AetutD ON \i-*-2\ ENED ON Q~G-22

(b) Name of court: DrSVeu.ct Couey Eat WESIEAM DrslecCl OF MrceirG AN AT GétonD PAPEVS

(c) Docket or case number: \ilg -ec&- an5F

(d) Result: VAcA+E 4, REMAND

(e) Date of result:_Q- 6-2cgh Weotntence A AN \2-1q-722

(f) Grounds raised: Drsicick Cours Mast beg. 0 thes Anaiysis usikin ‘ne Guide snes

Gnd Germain Coon Zant Of ner Vinecucnous die  Sentenciva Vamcess .

The. Forrerce, 40 coarcutate, ‘ne Auide tne a HemecsS a

Sentence race duro \iu 4 mceadonatie ,

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes 0 No
If "Yes," answer the following:

(1) Date you filed:

(2) Docket or case number:

(3) Result:

(4) Date of result:

(5) Grounds raised:

10, Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications concerning
this judgment of conviction in any court?

11.

if your answer to Question 10 was "Yes," give the following information: Yes 2 No}

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(a) (1) Date you filed:

(2) Name of court:

(3) Docket or case number (if you know):

(4) Date of filing (if you know):

(5) Nature of the proceeding:

(6) Grounds raised:

(7) Did you receive a hearing where evidence was given on your motion, petition, or application? Yes O No O

(8) Result:

(9) Date of result:

(b) If you filed any second motion, petition, or application, give the same information:

(1) Date you filed:

(2) Name of court:

(3) Docket or case number (if you know):

(4) Date of filing (if you know):

(5) Nature of the proceeding:

(6) Grounds raised:

(7) Did you receive a hearing where evidence was given on your motion, petition, or application? Yes O No O

(8) Result:

(9) Date of result :

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(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition, or
application?

(1) First petition: YesO Noo
(2) Second petition: Yes O Noa

(d) Ifyou did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

- For this motion, state every ground on which you claim that you are being held in violation of the Constitution, laws, or

treaties of the United States. Attach additional pages if you have more than four grounds. State the facts supporting each
ground.

GROUND ONE:

(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):

(b) Direct Appeal of Ground One:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue? Yes O No of
(2) Ifyou did not raise this issue in your direct appeal, explain why: Wes Cohrcsed To Lane a

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vy wo :
(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition or application? YesO NoG

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

Date motion was filed:

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Name and location of the court where the motion or petition was filed:

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available):

Date of result:

(3) Did you receive a hearing on your motion? YesO No G

(4) Did you appeal from the denial of your motion, petition or application? Yes 0 No O

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal? Yes O No O
If yes, answer the following:

Date you filed:

Name of court where the appeal was filed :

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available) :

Date of result:

GROUND TWO:

(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):

(b) Direct Appeal of Ground Two:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue? Yes O Nom
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(2) If you did not raise this issue in your direct appeal, explain why: Was Covered svc, ea iae Oe

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teuinag me yw a& Going be atk 92 Afars Te 1 dost Vea was Forces to Pea
UV J Vv
(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition or application? YesO Noo
(2) Ifyour answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

Date motion was filed:

Name and location of the court where the motion or petition was filed:

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available):

Date of result:

(3) Did you receive a hearing on your motion? Yes 0 Nog

(4) Did you appeal from the denial of your motion, petition or application? Yes O Noo

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal? Yes O Noa
If yes, answer the following:

Date you filed:

Name of court where the appeal was filed :

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available) :

Date of result:

GROUND THREE:

(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):

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(b) Direct Appeal of Ground Three:

(c)

(1) Ifyou appealed from the judgment of conviction, did you raise this issue? Yes OQ No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition or application? Yes O No 0
(2) If your answer to Question (c){L) is “Yes,” state:

Type of motion or petition:

Date motion was filed:

Name and location of the court where the motion or petition was filed:

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available):

Date of result:

(3) Did you receive a hearing on your motion? Yes No

(4) Did you appeal from the denial of your motion, petition or application? Yes O No O

(5) [f your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal? Yes O NoO
If yes, answer the following:

Date you filed:

Name of court where the appeal was filed :

Docket or case number:

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Result (attach a copy of the court’s opinion and order, if available) :

Date of result:

GROUND FOUR:

(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):

(b) Direct Appeal of Ground One:

(c)

(1) Ifyou appealed from the judgment of conviction, did you raise this issue? Yes O No O

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition or application? YesQ Nod
(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

Date motion was filed:

Name and location of the court where the motion or petition was filed:

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available):

Date of result:

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(3) Did you receive a hearing on your motion? Yes O No G

(4) Did you appeal from the denial of your motion, petition or application? Yes O No O

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal? Yes O No O
If yes, answer the following:

Date you filed:

Name of court where the appeal was filed :

Docket or case number:

Result (attach a copy of the court’s opinion and order, if available) :

Date of result:

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, state which ground
or grounds have not been presented and your reasons for not presenting them:

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the judgment you are
challenging? Yes O No

If" Yes," state the date of filing, the name and location of the court, the docket or case number, the type of proceeding, and
the issues raised.

13. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment you are
challenging:

(a) At preliminary hearing:

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16.

18.

(b) At arraignment and plea: oe e+ a (ro Now

(c) Attrial: osha A PiANCWAQD

(d) Atsentencing: Jost A A. BRIAN WARD

(e) On appeal: YosWud A PiAdic\Ae dD

(f) In any post-conviction proceeding:

(g) On appeal from any ruling against you in a post-conviction proceeding:

Do you have any future sentence to serve after you complete the sentence for the judgment that you are challenging?
YesO Noy

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

(b) Give the date the other sentence was imposed:

(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or sentence to
be served in the future? Yes O No O

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain why the
one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

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* The Antiterrorism and Effective Death Penalty Act of 1996 (" AEDPA") as contained in 28 U.S.C. § 2255, paragraph 6,
provides in part that:

A one-year period of limitation shall apply to a motion under this section. The limitation period shall run from the latest of--
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of the Constitution
or laws of the United States is removed, if the movant was prevented from making such a motion by such governmental
action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has been newly
recognized by the Supreme Court and made retroactively applicable to cases on collateral review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered through the exercise
of due diligence.

Therefore, movant asks that the Court grant him or her the relief to which he or she may be entitled in this proceeding.

i declare under penalty of perjury that the foregoing is true and correct and that this Motion Under § 2255 was placed in the prison

mailing system on (month, date, year).
GATes Teoh MAQaurst lett -
Signature of Movant Date

Signature of Attorney (if any)

If the person signing is not movant or an attorney, state relationship to movant and explain why movant is not signing this petition.

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